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                                                                             Friday, 31 May, 2019 09:08:43 AM
                                                                                 Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

CHARLES PALMER,                                    )
                                                   )
             Plaintiff,                            )           Case No. 3:17-cv-03268
                                                   )
             v.                                    )           Hon. Colin Stirling Bruce
                                                   )
CITY OF DECATUR et al.,                            )           Hon. Eric I. Long
                                                   )
             Defendants.                           )

    REPLY IN SUPPORT OF PLAINTIFF’S APPEAL OF MAGISTRATE JUDGE’S
      OPINION ON MOTION TO RECONSIDER AND MOTION TO COMPEL

        Defendants’ opposition to Plaintiff’s appeal rests on several misrepresentations of the

record and the relevant law. None of Defendants’ arguments provides a basis for denying the

appeal. This Court should reject Defendants’ assertion of the law enforcement privilege and

order them to produce responsive documents under the protective order in place in this litigation.

   I.      Defendants Are Incorrect About the Procedural History
        First, in arguing that Plaintiff’s appeal of the Court’s ruling on his motion to compel is

untimely (ECF No. 84, the “Opposition,” at 2), Defendants ignore that Plaintiff moved for an

extension of that deadline and leave to file a consolidated appeal of the Court’s rulings on the

motion to compel and motion to reconsider (ECF No. 77); this Court expressly reminded

Defendants of their ability to respond to that request (5/6/19 Text Order); and Defendants filed a

notice that they did not object to the extension (ECF No. 82). In particular, Defendants’ notice

stated: “defendants do not object to an extension of time for the plaintiff to file his objection to

the opinion on the Motion to Compel.” (Id.) Accordingly, the Court granted Plaintiff’s motion

and gave him leave to file a consolidated appeal of the Court’s initial report and recommendation

and its denial of Plaintiff’s motion to reconsider. (5/7/19 Text Order.) Defendants cannot now
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argue that Plaintiff’s appeal is untimely. Plaintiff has appealed both the Magistrate Judge’s initial

order and its order denying reconsideration, and both are properly before this Court.

          Second, Defendants argue incorrectly that, before his appeal, Plaintiff didn’t “develop

any meaningful argument regarding [Defendants’] failure to provide an affidavit” supporting

their reliance on the law enforcement investigatory privilege. (Opp’n 9.) But Plaintiff’s motion to

compel argued at length and with copious case law citations that Defendants waived their ability

to invoke the privilege by failing to produce a privilege log and “an affidavit from a responsible

official explaining why the so-called law enforcement investigatory privilege should apply to the

documents withheld . . . .” (ECF No. 33 at 12; id. at 11–13.) And Plaintiff renewed that argument

in his motion to reconsider. (ECF No. 64 at 12–14 (arguing Defendants “failed to meet the

threshold legal requirement to avoid disclosure” by “fail[ing] to attach an affidavit setting out the

particular information they must protect and the specific risk DPD faces from disclosure”).)

Defendants’ waiver is particularly important in this instance because it demonstrates that no law

enforcement authority is willing to come forward and state that there is an ongoing investigation

with which discovery in this case might interfere. Instead, Defendants are invoking the privilege

tactically, and improperly, to prevent full discovery in this civil litigation.

    II.      Defendants Apply the Wrong Legal Standard 1

          Defendants’ argument that Plaintiff’s appeal should be denied as moot because some of

the documents Plaintiff seeks were already produced by the State’s Attorney’s office finds no

support in the law. (Opp’n 7–8.) Defendants are obligated to produce “discovery regarding any

nonprivileged matter that is relevant to any party’s claim and proportional to the needs of the

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  Defendants begin by arguing Plaintiff may “file and serve objections, not an appeal.” (Opp’n 3; id at 3, 5 (referring
to filing as a “so-called Appeal”).) Defendants appear to have overlooked Local Rule 72.2, entitled “Appeal of Non-
Dispositive Matters,” which provides: “Any party may appeal from any order of a magistrate judge within 14 days
after service of the order appealed from.” Local Rule 72.2 (emphasis added). Under the local rule, Plaintiff’s appeal
is both procedurally proper and correctly styled.

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case,” notwithstanding that information may already have been produced by another party. Fed.

R. Civ. P. 26(b)(1). “Mootness” is not a recognized basis for withholding or failing produce

documents under the Federal Rules, and Defendants do not cite any rule or authority to the

contrary. Defendants possess documents responsive to Plaintiff’s discovery requests that they

have not turned over and that the State’s Attorney has not produced. The State’s Attorney’s

production does not provide a legal basis for excusing Defendants from producing

noncumulative, relevant information.

       Defendants also attempt improperly to shift the burden by arguing Plaintiff was required

to “request” an affidavit from Defendants supporting their privilege assertion. (Opp’n 9.) That is

not what the law requires. As the cases demonstrate, Defendants bear the burden of providing a

detailed affidavit to meet the requirements for invoking the privilege in the first place. (See, e.g.,

ECF No. 64 at 12–14 (collecting cases holding assertion of privilege requires detailed affidavit).)

       Defendants’ related argument that they were not required to submit an affidavit to

support their privilege assertion because the Court reviewed documents in camera (Opp’n 9–12)

ignores the clear mandate of that precedent. Worse, Defendants’ argument subverts the logic

underlying the requirement. The very purpose of the affidavit is to prove that law enforcement

genuinely believes disclosing information about an ongoing investigation would create a risk.

The affidavit thus ensures law enforcement officials provide evidence before asserting a

privilege. The fact that the Court reviewed in camera a small portion of the documents

Defendants have withheld does not absolve Defendants of this burden.

       Moreover, Plaintiff’s case illustrates the prudence of the affidavit requirement. Here, the

Court accepted Defendants’ representation that the documents they provided to the Court in

camera had to be kept secret “to safeguard the privacy of individuals involved in the



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investigation.” (ECF No. 51.) But the Macon County State’s Attorney later produced those same

documents with no confidentiality designation, showing there was in fact no need to keep the

individuals’ identity secret. Defendants’ failure to provide the required affidavit thus put the

Court in the untenable position of guessing at law enforcement’s needs. In fact, there is no need

for confidentiality in this instance, as is plainly shown by the State’s Attorney’s decision to

provide all the requested documents without asserting any privilege or even marking the

documents as confidential. Defendants have not provided the required affidavit because there is

no basis for a law enforcement official to sign such an affidavit. At any time in the seven-and-a-

half months this issue has been pending, Defendants could have provided such an affidavit. The

fact that they instead argue the issue is moot demonstrates their assertion of privilege is not well-

founded.

                                         CONCLUSION

       For the foregoing reasons and the reasons set out in Plaintiff’s motion to compel (ECF

No. 33), motion to reconsider (ECF Nos. 63, 64), and appeal (ECF Nos. 78, 79), Plaintiff

respectfully requests the Court overrule Defendants’ assertion of the law enforcement

investigatory privilege.

Dated: May 30, 2019                           Respectfully submitted,

                                              CHARLES PALMER

                                              By: s/ Alison R. Leff
                                                  One of Plaintiff’s Attorneys

                                              Arthur Loevy
                                              Jon Loevy
                                              Steven Art
                                              Rachel Brady
                                              Alison R. Leff
                                              LOEVY & LOEVY
                                              311 N. Aberdeen St., 3rd Fl.

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                                            Chicago, Illinois 60607
                                            (312) 243-5900
                                            alison@loevy.com


                               CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2019, I filed the foregoing document using the Court’s

CM/ECF system, which effected service on all counsel of record.

                                                   s/ Alison R. Leff




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